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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                              CASE NO. 1:07-cr-00011-MP-AK

CARLOS A. CORREA,

      Defendant.
________________________________/

                                            ORDER

       This matter is before the Court on Doc. 177, Emergency Motion to Quash Subpoena,

filed by Alexandra Alvarez. A telephone conference was held on this matter on Wednesday,

November 28, 2007, but on account of the emergency nature of the hearing, the court reporter

and other parties were not present. During the conference, Ms. Alvarez stated that she was

served with a subpoena during the evening of November 27 to appear at a hearing set for

November 29, 2007. Ms. Alvarez asserted that the short notice of the subpoena, along with the

several hundred miles of travel and her lack of the requested documents, imposes an

unreasonable burden on her. Also, Ms. Alvarez stated that she was informed that she is now a

target of an investigation arising from this case, and she said that she would assert her Fifth

Amendment privilege against self-incrimination should she be called as a witness. Finally, Ms.

Alvarez said that her attorney was out of the state, and could not appear at the hearing.

       The attorney for Defendant Correa responded that Ms. Alvarez’s testimony is a crucial

component of his argument against the credibility of the investigating officers, and that no Fifth

Amendment issues were likely to arise. Nonetheless, because the possibility of prosecution

implicates Ms. Alvarez’s privilege against self-incrimination, coupled with the shortness of

notice, Ms. Alvarez’s asserted lack of documents, and the unavailability of her counsel, the
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Court finds that the motion to quash the subpoena should be granted. Mr. Petit may reargue the

issue of Ms. Alvarez being a target of an impending investigation if new information arises after

he discusses this issue with the Government. Accordingly, the Emergency Motion to Quash

Subpoena, Doc. 177, is GRANTED, the subpoena is quashed, and Ms. Alvarez is discharged

from any obligation to comply with the subpoena.



        DONE AND ORDERED this                      28th day of November, 2007


                                             s/Maurice M. Paul
                                       Maurice M. Paul, Senior District Judge




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